         Case 1:21-cr-00291-ABJ Document 84-11 Filed 10/18/21 Page 1 of 1




September 26, 2021

Stephen F. Brennwald, JD

922 Pennsylvania Ave., SE

Washington, DC 20003

Dear Mr. Brennwald:

I am writing in reference to Thomas Sibick, who will be appearing in court this week due to issues
occurring in the Capital in Washington, D.C. on January 6, 2021.

I was asked to write a character reference letter for Thomas, but the truth is that I was already planning
on doing so before the request. I feel strongly about Thomas and his future, as I have known him his
entire life. Thomas is a person of great intelligence, great moral character, and he has a strong work
ethic and a heart of gold. He is a loyal son, brother, cousin and friend to many, and would do anything
to help anyone. Throughout his life I have seen Thomas go through a few ups and downs, but all the
while I have always known that he is a remarkable young man, and that he would lead a happy and
fulfilling life. At this time Thomas needs people to believe in him and support him so that he can
continue to be the kind, family oriented, hard-working and productive young man that he has always
been destined to be.

Thomas may have made a few mistakes, and he is incredibly remorseful, and has been willing to do
whatever it takes to make reparations. To do that he needs you and the court system to give him an
opportunity to get a second chance. I hope that this letter will give you an idea of his good character,
and will help Thomas to get the chance that he deserves to prove his innocence. I can be reached at
716-464-0008 should you need further information. Thank you!
Kind regards,


MaryEllen Carlo
Director of Search Services
Career Partners International Buffalo | Niagara
